Case 3:24-cr-00122-RCY             Document 67         Filed 01/16/25     Page 1 of 4 PageID# 283




                     IN THE UNITED STATES DISTRICT COURT FOR THE

                                  EAS'lEIUM DISTRICT OF VIRGINIA

                                         Richmond Division


  UNITED STATES OF AMERICA

          V.                                              Criminal No. 3:24-cr-122-RCY-l


  WILLIAM THOMAS MORTON, JR.,

               A.k.a. “Skillet;

                               Defendant.



                                      STATEMENT OF FACTS


        The United States and the defendant, WILLIAM THOMAS MORTON, JR., A.K.A.

  SKILLET,” (hereinafter, “the defendant”), agree that at trial, the United States would have

 proven the following facts beyond a reasonable doubt with admissible and credible evidence:

         1.     Starting on or about April 1,2024, and continuing through and including August

 22, 2024, in the Eastern District of Virginia and elsewhere within the jurisdiction of the Court,

 the defendant did knowingly combine, conspire, confederate and agree with others, known and

 unknown to transport, transfer and cause to be transported firearms in and affecting interstate and

 foreign commerce, while knowing and having reasonable cause to believe that the use, carrying.

 or possession of a firearm by the recipient would constitute a felony, and to receive firearms

 from another person, in and affecting interstate or foreign commerce, while knowing and having

 reasonable cause to believe that such receipt would constitute a felony, all in violation of Title

 18, United States Code, Section 933(a)(2), (a)(3) and (b).

        2.      On or about April 4, 2024, the defendant did knowingly and intentionally

 distribute a mixture and substance containing a detectable amount of cocaine, a Schedule II

 controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1) and

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Case 3:24-cr-00122-RCY          Document 67            Filed 01/16/25      Page 2 of 4 PageID# 284




  (b)(1)(C).

          3.     In March 2024, the Bureau of Alcohol, Tobacco, f irearms, and Explosives

  (“ATF”), initiated a proactive investigation into Violent Crime Initiative (“VCI”) areas of the

  City of Richmond, Virginia, which included Fairfield, Mosby, and Gilpin Courts. Between

  March 20, 2024 and August 22, 2024, ATF conducted numerous controlled purchases of

  firearms and narcotics, utilizing professional confidential informants (“Cls”). The controlled

  purchases were all made in the VCI areas or involved individuals from those areas. The

  controlled purchases and interactions between the Cls and dealers were captured on electronic

  surveillance devices.


          4.     On April 1, 2024, in furtherance of the firearm trafficking conspiracy, defendant

  obtained from a coconspirator a Privately Made Firearm (“PMF”), 9mm pistol, with “80 Percent

  Arms” printed on the polymer frame, and a Clock slide, bearing serial number BNYN047, and

  sold the firearm to one of the Cls. Also, in furtherance of this conspiracy, defendant

  accompanied the Cl during the sale of firearms by his coconspirators to the Cl on April 8, 2024,

  and April 10, 2024, receiving a brokerage fee for each sale from the Cl. Also, in furtherance of

  this conspiracy, defendant sold a firearm to the Cl on April 23, 2024.

          5.     On April 4, 2024, defendant sold the Cl approximately 2 grams of cocaine for

  $160 in official government funds. The suspected cocaine was submitted to the Drug

  Enforcement Administration’s Mid-Atlantic Laboratory (“DEA Lab”) where it was detennined

  to be 1.98 grams of a mixture and substance containing cocaine, a Schedule II controlled

  substance.


          6.     On April 8, 2024, defendant sold the Cl a half of an ounce of cocaine for $460 in

  official government funds. The suspected cocaine was submitted to the DEA Lab where it was



                                                   2
Case 3:24-cr-00122-RCY           Document 67            Filed 01/16/25     Page 3 of 4 PageID# 285




 determined to be 13.7 grams of a mixture and substance containing cocaine, a Schedule II

 controlled substance.


         7.      On April 23, 2024, defendant sold 10 grams of “heroin” to Cl for $300 in official

 government funds. The suspected heroin was submitted to the DEA Lab where it was

 determined to be 9.67 grams of a mixture and substance containing fentanyl, a Schedule II

 controlled substance.


                 On April 26, 2024, defendant sold an ounce of “heroin” to Cl for $700 in official

 government funds. The suspected heroin was submitted to the DEA Lab where it was

 determined to be 27.85 grams of a mixture and substance containing fentanyl, a Schedule II

  controlled substance.


         9.      On May 2, 2024, defendant sold an ounce of “heroin” to Cl for $725 in official

  government funds. The suspected heroin was submitted to the DEA Lab where it was

  determined to be 28.2 grams of a mixture and substance containing both heroin, a Schedule 1

  controlled substance, and fentanyl, a Schedule II controlled substance.

          10.    This statement of facts includes those facts necessary to support the plea of guilty

  by the defendant. It does not include each and every fact known to the defendant or to the United

  States, and it is not intended to be a full enumeration of ail of the facts surrounding the

  defendant’s case.


                 The actions of the defendant, as recounted above, were in all respects knowing

  and deliberate, and were not committed by mistake, accident, or other innocent reason.

                                          Respectfully Submitted,

                                         JESSICA D. ABER
                                         UNITED STATES ATTORNEY




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Case 3:24-cr-00122-RCY            Document 67              Filed 01/16/25     Page 4 of 4 PageID# 286




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                                                       Ur-kJLC,                  1
                                           Olivia L. Norman
                                           Assistant United States Attorney
                                           Katherine E. Groover
                                           Special Assistant United States Attorney



           After consulting with my attorney, 1 hereby stipulate that the above Statement of Facts is

 true and accurate, and that liad the matter proceeded to trial, the United States would have proved

 the same beyond a reasonable doubt.


 Date:                   5
                                           WILLIAM THOMAS MORTON; JR.,
                                           Defendant




           1 am defendant's attorney. I have carefully reviewed the above Statement of Facts with

 him. To my knowledge, his decision to stipulate to these facts is an informed and voluntary one.


 Date:
                                           Jbseph S. Camden
                                           Assistant Federal Public Defender
                                           Attorney for Defendant




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